      Case 4:23-cv-00593-BRW Document 24-3 Filed 03/18/24 Page 1 of 5




                     UNITED STATES DISTRICT COURT
                     EASTER DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

TYLER L. BATTLES                                                 PLAINTIFF

vs.                       CASE NO.4:23-CV-593-BRW

SHELTER MUTUAL INSURANCE COMPANY                               DEFENDANT

       EXHIBIT C TO SHELTER’S MOTION FOR SUMMARY JUDGMENT
Case 4:23-cv-00593-BRW Document 24-3 Filed 03/18/24 Page 2 of 5
Case 4:23-cv-00593-BRW Document 24-3 Filed 03/18/24 Page 3 of 5
Case 4:23-cv-00593-BRW Document 24-3 Filed 03/18/24 Page 4 of 5
Case 4:23-cv-00593-BRW Document 24-3 Filed 03/18/24 Page 5 of 5
